Case 8:99-cr-00156-SDM Document 150 Filed 12/22/06 Page 1 of 2 PageID 492




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                        CASE NO. 8:99-cr-I 56-T-23MSS

 JOSE FRED JIMINEZ
                                                 /

                                               ORDER

        On December 12, 2006, the United States Probation Office filed a December 5,

 2006, petition for revocation of the defendant's supervised release (Doc. 141).* At the

 hearing on December 21, 2006, Assistant Federal Public Defender Maria Guzman

 represented the defendant and Assistant United States Attorney Colleen Murphy-Davis

 represented the United States.

        The defendant admits committing the four Grade C violations described in

 numbered paragraphs one through four of the petition. Accordingly, the court adjudges

 the defendant guilty of violating the terms of his supervised release, and the

 defendant's term of supervised release is REVOKED. In consideration of the factors

 specified in 18 U.S.C. 5 3553(a), including applicable guidelines and policy statements

 issued by the United States Sentencing Commission, the defendant is sentenced to ten

 (10) months of imprisonment with no supemised release to follow.




        The defendant having pled guilty to count one of an indictment, the court imposed a sentence on
 November 19, 1999, of seventy-eight months of imprisonment and sixty months of supervised release.
Case 8:99-cr-00156-SDM Document 150 Filed 12/22/06 Page 2 of 2 PageID 493




       The defendant is remanded to the custody of the United States Marshal to await

 designation and incarceration by the Bureau of Prisons.
                                            n

       ORDERED in Tampa, Florida, on        '4-lrc/l          zm ,2006.

                                                                                  1
                                                Steven D. Merryday
                                          UNITED STATES DISTRICT JUDGE

 cc:    United States Marshal
        United States Probation
        Counsel of Record
